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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 18-CV-241OO-COOKE/GOODMAN

  DIGNA VINAS,

         Plaintiff,

  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

         Defendant.
  ______________________________/

   PLAINTIFF/COUNTER-DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES
    TO DEFENDANT/COUNTER-PLAINTIFF’S COUNTERCLAIM IN RESPONSE TO
                    PLAINTIFF’S AMENDED COMPLAINT

         COMES NOW, Plaintiff/Counter-Defendant, Digna Vinas ("Plaintiff” or "Vinas”), by

  and through her undersigned counsel, and hereby files her Answer and Affirmative

  Defenses     to     Defendant/Counter-Plaintiff,   The   Independent   Order   of   Foresters’

  ("Defendant” or "Foresters”) Counterclaim (D.E. 34) in response to Plaintiff’s Amended

  Complaint (D.E. 33) and states:

        Answer to Counterclaim in Response to Plaintiff’s Amended Complaint

         Plaintiff denies all allegations of Foresters’ Counterclaim other than the allegations

  contained in the following paragraphs, which Plaintiff specifically admits: 2, 3, 7, 12-14,

  and 16.
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       Affirmative Defenses to Counterclaim in Response to Plaintiff’s Amended
                                     Complaint

                                  First Affirmative Defense

         1.     "Where an insurer is on notice that it must itself make further inquiries about

  an insured’s health, it is bound by what a reasonable investigation would have showed.”

  Cox v. Am. Pioneer Life Ins. Co., 626 So. 2d 342, 246 (Fla. 5th DCA 1993). On or about

  January 12, 2015, Rigoberto Vinas ("Decedent”) submitted to Defendant an application

  for life insurance.   Immediately thereafter,    Defendant made further inquiry about

  Decedent’s health.    Defendant is therefore bound by what a reasonable investigation

  would have showed.      As a reasonable investigation would have revealed whatever

  Defendant claims was "misrepresented,” no such misrepresentation took place.

                                    Second Affirmative Defense

         2.     "Where an insurer is on notice that it must itself make further inquiries about

  an insured’s health, it is bound by what a reasonable investigation would have showed.”

  On or about January 12, 2015, Rigoberto Vinas ("Decedent”) submitted to Defendant an

  application for life insurance. Immediately thereafter, Defendant made further inquiry

  about decedent’s health.       Defendant is therefore bound by what a reasonable

  investigation would have showed. By approving the Application with the knowledge of

  Decedent’s medical history that a reasonable investigation would have revealed and

  subsequently accepting the payment of premiums, Defendant waived the right to rescind

  the policy.




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                                     Third Affirmative Defense

         3.            The standard for truthfulness as to the application at issue is whether

  Decedent answered the questions to the best of his knowledge and belief. Decedent’s

  answers met this standard of truthfulness and as such do not constitute misstatements

  within the meaning of section 627.409, Florida Statutes (1993), and therefore cannot

  provide the grounds for an insurer’s rescission of an insurance policy.

         WHEREFORE, Plaintiff/Counter-Defendant, Digna Vinas, seeks the following:

         a)     Payment of the full amount of life insurance benefits due under the Policy.

         b)     A Declaration that Rigoberto Vinas’ Policy was in full force and effect and is

  valid and enforceable.

         c)     A Declaratory Decree by the Court interpreting those portions of the Policy

  in which the parties have an actual dispute.

         d)     Attorney’s fees, costs and other such relief as this Court deems just and

  proper under Fla. Stat. §627.428 or other Florida Statute providing for attorney’s fees.

         e)     Pre and Post-judgment interest on the total damages including the

  Insurance Policy benefits and attorney’s fees at the present statutory rate from the date

  Rigoberto Vinas died through the date this Court enters Judgment.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 15, 2019, the undersigned electronically filed

  the foregoing document with the clerk of the Court using CM/ECF. The undersigned also

  certifies that the foregoing document is being served this date to Kristina B. Pett, Riley




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